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                  UNITED STATES BANKRUPTCY COURT

                               DISTRICT OF IDAHO


 IN RE:                                      Case No. 21-00089-NGH

 ANDREW CARLOS BEATTIE,
       Debtor.                               Chapter 7

                                       ORDER


      On November 2, 2021, the Court entered an “Order Allowing Trustee’s Final

Report and Directing Distribution” in this case. Doc. No. 24. That order was entered in

error. As such,

      IT IS HEREBY ORDERED that the order approving distribution, Doc. No. 24, is

RESCINDED.

DATED: November 2, 2021


                                        _________________________
                                        NOAH G. HILLEN
                                        U.S. Bankruptcy Judge




ORDER - 1
